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From: Bing Xia

Sent: Monday, May 24, 2010 11:51 AM

To: Ciaran Rochford; Madan Ankapura; Martin Tannerfors; loi Lam; Nitin Bajaj; Burnham H. Greeley
Cc: Eui Suk Chung

Subject: RE: Booth feedback

A few more:

- “The menu looks just like iPhone. But | like it cause it looks familiar to me.”

-  “l heard this device has good graphics performance. That’s very important to games.”

- “This phone feels so light! | hope the battery will last.”

- “Please add Right-To-Left text support. This will certainly be a hit in Arabic market, where people are paying $600 for crappy Nokia phones.”
- “The Ulis much more responsive than Nexus One. What has Samsung changed?”

- “Where is the version with keyboard?”

From: Ciaran Rochford

Sent: Monday, May 24, 2010 11:30 AM

To: Madan Ankapura; Martin Tannerfors; Ioi Lam; Bing Xia; Nitin Bajaj; Burnham H. Greeley
Cc: Eui Suk Chung

Subject: RE: Booth feedback

Hi all,

In addition to Madan comments:
1. Can turn off TouchWiz and just use the regular UI as a end user?
2. What sort of battery life performance can we expect?
3. Which US carrier will this handset ship with?

4. What brand of CPU is it using?

Regards,
Ciaran Rochford

Director

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San Jose Mobile Communications Lab (srape 5:11-cv-01846-LHK Document 1350-6 Filed 07/26/12 Page 3of3

Samsung Research and Development Center
Office : 408 324 3700
Mobile: 650 814 6483

From: Madan Ankapura

Sent: Monday, May 24, 2010 11:19 AM

To: Martin Tannerfors; Ioi Lam; Bing Xia; Ciaran Rochford; Nitin Bajaj; Burnham H. Greeley
Cc: Eui Suk Chung

Subject: RE: Booth feedback

Martin,

Here are some comments overheard.
-  GalaxyS looks very similar to iPhone
- When is GalaxyS available in the market ?
- What is the price point of the GalaxyS
- Will GalaxyS go on Froyo or Eclair ? (interested in froyo)
- How can | use front facing camera?
- How can get access to samsung android devices (without paying/buying for development)

-Madan

From: Martin Tannerfors

Sent: Monday, May 24, 2010 11:10 AM

To: Ioi Lam; Bing Xia; Ciaran Rochford; Madan Ankapura; Nitin Bajaj; Burnham H. Greeley
Cc: Eui Suk Chung

Subject: Booth feedback

Hi all,

| know you are insanely busy at the moment but if you have a moment please send me couple of lines of the good, bad and the ugly from Google
|/O, the most common questions you received from developers.

Thanks!
Martin

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